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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


                                    )
UNITED STATES OF AMERICA,           )
                                    )               CASE NO. CR 04-156-S-BLW
                   Plaintiff,       )
                                    )
v.                                  )                       AMENDED
                                    )           REPORT AND RECOMMENDATION
JUAN DELGADO-DELGADO                )
                                    )
                  Defendant.        )
___________________________________ )



       On November 10, 2004, Defendant JUAN DELGADO-DELGADO appeared before the

undersigned United States Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Defendant executed a written waiver of the right to have the presiding United

States District Judge take his change of plea. Thereafter, the Court explained to the Defendant

the nature of the charges contained in the applicable Superseding Indictment (docket # 29), the

maximum penalties applicable, his constitutional rights, the impact that the Sentencing

Guidelines will have, and that the District Judge will not be bound by the agreement of the

parties as to the penalty to be imposed. In addition, the Court reviewed with the Defendant the

impact that a waiver of his rights under Blakely v. Washington, 542 U.S.___, 124 S.Ct. 2531, 159




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L.Ed.2d 403 (2004), could potentially have on his sentence, in order to ensure that the Defendant

was fully apprised of his rights in this regard.

       The Court, having conducted the change of plea hearing and having inquired of the

Defendant, his counsel, and the government, finds that there is a factual basis for the Defendant’s

guilty plea, that he entered it voluntarily and with full knowledge of the consequences, and that

the plea should be accepted.

                                      RECOMMENDATION

       Based upon the foregoing, the Court being otherwise fully advised in the premises, the

Court hereby RECOMMENDS that:

       1)      The District Court accept Defendant JUAN DELGADO-DELGADO’S plea of

guilty to Count FIVE of the Superseding Indictment (docket # 29), and that a pre-sentence report

be ordered.

       Written objections to this Report and Recommendation must be filed within ten (10) days

pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a result of failing to do so, that

party may waive the right to raise factual and/or legal objections to the United States Court of

Appeals for the Ninth Circuit.


                                               DATED: May 26, 2005



                                               Honorable Mikel H. Williams
                                               United States Magistrate Judge




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